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 7
 8                          UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10   TAWANNA RICE and KELLY RICE                Case No: 2:21-cv-01519-KJM-KJN
     and all others similarly situated
11                                               FIRST AMENDED CLASS ACTION
                                  Plaintiffs,
12                                               COMPLAINT FOR:
           v.
13                                          1.   VIOLATION OF CAL.
     KIMBERLY-CLARK CORPORATION, BUS. &        PROF. CODE § 17500, et seq.;
14   a Delaware corporation
                                            2.   VIOLATION OF CAL.
15                          Defendant. CIV. CODE § 1750, et seq.; AND
                                            3.   VIOLATION OF CAL.
16                                     BUS. & PROF. CODE § 17200, et seq.
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                                                     JURY TRIAL DEMANDED
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 1   I.        PRELIMINARY STATEMENT
 2             1.     Plaintiffs Tawanna Rice and Kelly Rice (collectively “Plaintiffs”) on
 3   behalf of their individual selves and all others similarly situated, allege as follows:
 4             2.     Defendant    Kimberly-Clark      Corporation    (“Kimberly-Clark”        or
 5   “Defendant”) owns, controls, promotes, and distributes Huggies brand Sung & Dry
 6   diapers (the “Class Product”). Defendant advertises these diapers as helping keep
 7   children “dry and comfy” and promises parents that they “carefully select each
 8   ingredient that goes into Huggies Diapers1.” Moreover, Defendant assures parents that
 9   their diapers are hypoallergenic and that “Huggies Snug & Dry has you covered, with
10   up to 12-hour leak protection to help keep you dry, comfy, and focused on more
11   interesting things.” Unfortunately for many parents who rely on these representations
12   when choosing products for their babies, Defendant’s Snug & Dry diapers have a
13   propensity to harm the skin of children and Defendant does not disclose this known
14   fact prior to or at the time of transacting to allow parents to make informed decisions
15   for themselves and their children.
16             3.     As a result of Defendant’s willful and/or negligent manufacturing,
17   design, and promotion of the Class Product, a significant number of children who wear
18   the Snug & Dry diapers will develop a reaction to those diapers that may manifest in
19   prolonged rashes, blistering, peeling, and what appear to be chemical burns to the areas
20   of the skin that were covered by the diapers. While many children may develop diaper
21   rash, diaper rash is a transitory condition and will clear up soon after the child is
22   cleaned and changed. However, in the case of the Rice family and many other affected
23   families, the adverse skin reaction that results from wearing the Class Product persists
24   despite frequent changes, application of creams and ointments, and cleaning and
25   keeping the affected areas dry and free from urine or stool. The persistent injuries that
26   result from the Class Product are serious enough that parents are forced to seek medical
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28        1
              https://www.huggies.com/en-us/diapers/snug-and-dry
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 1   consultation and/or treatment, including prescription medicine. Moreover, because the
 2   injury caused by the Class Product breaks the skin barrier, bacterial or fungal infections
 3   are likely to compound the injury. The skin serves an important immune function by
 4   serving as a barrier to infection and when the underlying layers are exposed for
 5   prolonged periods, immune resistance is diminished, and bacterial or fungal infections
 6   may result and require additional treatment.
 7         4.      The Huggies brand spends tens of millions of dollars on advertising
 8   every year as part of a marketing effort to create a pervasive message that its diapers
 9   are safe, gentle, and suitable for young children. As a result, many parents do not
10   associate their choice of diaper, from a brand like Huggies, to be the source of
11   persistent injuries to their children that manifest as skin peeling, blisters, lesions, and
12   what appear to be chemical burns on the skin of young children.
13         5.      Unfortunately for many parents, they are unable to trace these injuries to
14   the diapers because they believe that the diapers are suitable for children and there are
15   no warnings on the Class Product label that would alert them to cease use in the case
16   of persistent injury like those experienced by the Rice family and many others. It is
17   only when parents cease use of the Class Product and switch to another diaper that the
18   progress of the injury halts and the child begins to heal.
19         6.      Had Defendant disclosed to prospective parents, on the Class Product
20   label or at the time of transaction, the known qualities of the Snug & Dry diapers,
21   Parents could either avoid using the product or, at the very least, could identify the
22   source of harm to their children’s skin and cease use of the offending product.
23         7.      Defendant has long known of reports of persistent adverse skin reactions
24   from concerned parents of injured children who wear the Class Product, yet concealed
25   this fact from consumers in an effort to increase the sales of the Class Product. For
26   example, in or about 2014, a concerned parent posted the following review to the
27   Huggies brand website:
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15         8.      And a representative from Huggies responded to that complaint by
16   emphasizing that, “the health and safety of little ones is our number one concern” and
17   asking the poster to contact them to learn more about the incident. Over the next seven
18   years, the Huggies website was flooded with such complaints and Defendant’s
19   representatives not only responded by inviting more information but eventually the
20   responses evolved to assist Defendant with concealing the fact that Huggies is well
21   aware of the propensity of the Class Product to harm children. For example, in 2020 a
22   concerned parent posted a review to which Defendant responded by stating that such
23   a reaction was “unexpected” and that “our diapers are designed to be gentle on
24   sensitive skin:”
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           9.      And in 2021 a consumer posted concerns to which Defendant responded
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     by unequivocally denying that Huggies could cause any such harm, stating, “Please
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     know that the ingredients and materials used in all our Huggies® diapers are evaluated
17
     by pediatricians and safety professionals to ensure they are safe to use on even the
18
     most delicate skin. We can assure you our Huggies® products can’t cause a chemical
19
     burn because they’re made of materials which do not create any chemical reaction, nor
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     will they react with stool or urine:”
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15         10.     The foregoing comprise just a small sample of the total complaints that
16   Defendant has received through its website alone. Defendant has also received reports
17   of the same via retailers who sell the Class Product and forward customer complaints
18   to Defendant, calls to Defendant’s customer service line, correspondence to the same,
19   parenting websites and blogs that it monitors, and online reviews posted to retail
20   websites also monitored by Defendant. Defendant is also aware of the potential for the
21   Class Product to harm via its own internal pre- and post-release testing.
22         11.     This is an action for damages and injunctive relief for harm suffered by
23   Plaintiffs and putative Class members as a direct and proximate result of Defendant’s
24   negligent, willful, and wrongful conduct in connection with the design, development,
25   manufacture, testing, packaging, promotion, marketing, distribution, labeling, and/or
26   sale of the Huggies brand Snug & Dry diapers.
27         12.     Accordingly, Plaintiffs bring this Class Action Complaint against
28   Defendant, alleging the violations of: (1) California Legal Remedies Act (“CLRA”)
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 1   C al Ci v . Cod e § 1750 , et . s eq .; (2) California’s False Advertising Law
 2   (FAL”), Bus . Pro f . C ode § 17 500 , et . s eq . an d ; (3) California’s Unfair
 3   Competition Law (“UCL”), Bus. Prof. Code § 17200. Plaintiffs and Class members
 4   seek compensation for damages they incurred and continue to incur as a direct
 5   and proximate result of Defendant’s unlawful acts and omissions. Plaintiffs further
 6   seek to enjoin Defendant from continuing the unlawful practices alleged herein.
 7            13.   The allegations in this Complaint are based on the personal knowledge
 8   of Plaintiffs as to themselves, and on information and belief as to all other matters.
 9   II.      JURISDICTION AND VENUE
10            14.   This Court has jurisdiction over the subject matter of this action pursuant
11   to the Class Action Fairness Act, 28 U.S.C. §§1332(d), 1446, and 1453(b). Plaintiffs
12   allege that they and the Class members are citizens of different states from Defendant,
13   and the cumulative amount in controversy for Plaintiffs and the Class exceeds $5
14   million, exclusive of interest and costs.
15            15.   Venue is proper in this District pursuant to 28 U.S.C. §1391(b) because
16   many of the acts and transactions giving rise to the violations of law complained of
17   herein occurred in this District, and because Defendant: conducts business itself or
18   through agent(s) in this District, by advertising, marketing, distributing and/or
19   manufacturing its products in this District; and/or is licensed or registered in this
20   District; and/or otherwise has sufficient contacts within this District to justify
21   Defendant being fairly brought into Court in this District.
22            16.   The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332,
23   because this is a class action, as defined by 28 U.S.C § 1332(d)(1)(B) whereby: (i)
24   the proposed class consists of over 100 class members, (ii) a member of the putative
25   class is a citizen of a different state than Defendant, and (iii) the amount in
26   controversy exceeds the sum or value of $5,000,000, excluding interest and costs.
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 1          17.    The Court has personal jurisdiction over Defendant because the Product
 2   is advertised, marketed, distributed, and sold throughout California; Defendant
 3   engaged in the wrongdoing alleged in this Complaint throughout the United States,
 4   including in California; Defendant is authorized to do business in California; and
 5   Defendant has sufficient minimum contacts with California and/or otherwise has
 6   intentionally availed itself of the markets in California, rendering the exercise of
 7   jurisdiction by the Court permissible under traditional notions of fair play and
 8   substantial justice. Moreover, Defendant’s activity within California is substantial
 9   and widespread. At all relevant times hereto, Defendant was a foreign corporation
10   duly authorized to conduct business in the State of California.
11          18.    Pursuant to 28 U.S.C. § 1391(b)(2), this Court is the proper venue for
12   this action because a substantial part of the events, omissions, and acts giving rise
13   to the claims herein occurred in this District. Plaintiffs are citizens of California,
14   reside in this District, and purchased the Class Product in this District. Moreover,
15   Defendant distributed, advertised, and sold the Class Product in this District.
16   III.   PARTIES
17          A.    Plaintiffs
18          19.    Plaintiffs Kelly and Tawanna Rice are, and at all times relevant hereto
19   have been, citizens of the State of California and residents of Sacramento County.
20   Plaintiffs’ baby son was born in May of 2021 and began wearing Huggies
21   Snug and Dry diapers sometime after he and his mother came home from the
22   hospital. Prior to wearing the Class Product, Plaintiffs’ son had never
23   experienced any kind of rash or adverse skin reaction. Before purchasing the
24   Class Product, Plaintiffs specifically sought out a product that they believed would
25   protect their child as he grew. Plaintiffs ultimately purchased the Class Product
26   after viewing and, relying on the representations on the Huggies storefront on
27   Amazon.com and throughout Defendant’s pervasive print and television
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 1   marketing. These representations caused Plaintiffs to believe that Huggies brand
 2   diapers, and particularly the Snug and Dry diapers, were reputable and designed
 3   to be safe for the skin of babies and infants. Plaintiffs purchased the Class Product
 4   on Amazon.com from their home in Sacramento, California. Plaintiffs’ Venue
 5   Declaration is attached hereto as Exhibit A.
 6         20.     Almost immediately after using the diapers with their new baby,
 7   Plaintiffs noticed that he seemed uncomfortable but, remaining trusting of the
 8   Huggies brand, they were unable to discern what was causing his discomfort.
 9   Shortly after he began using the diapers, Plaintiffs’ son began to develop severe and
10   persistent rashes, lesions, blistering, and what appeared to be chemical burns on his
11   skin in the areas covered by the diaper. Moreover, despite frequently changing the
12   baby’s diapers and keeping the affected area clean the adverse skin condition would
13   not improve. Plaintiffs also applied Desitin diaper cream and Neosporin to the affected
14   areas and ceased use of the baby wipes they had been using in an effort to help heal
15   their son. Still, the injury not only persisted but continued to get worse. Not only did
16   Plaintiffs’ son have to suffer the physical discomfort from the injury but he also
17   became sullen and withdrawn as a result. Concerned, Plaintiffs sought medical
18   treatment and were prescribed a five-day course of antibiotics by their healthcare
19   professional. Plaintiffs used the medicine as directed but the injury failed to respond
20   to even the prescription medicine. Finally, desperate for a solution and having tried
21   everything else to help their baby son, Plaintiffs switched to another brand of diaper
22   and the injury to their son halted its progression and began to heal. Roughly two weeks
23   after Plaintiffs switched diaper brands, their son’s injuries had significantly improved
24   and he returned to being a happy, healthy baby. Since ceasing use of the Class Product,
25   Plaintiffs’ son has not had any adverse skin reactions and his skin has remained
26   healthy. Moreover, Plaintiffs have resumed use of the wipes that they earlier ceased
27   use of and have used them without incident since ceasing use of the Class Product.
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 1         21.     Had Plaintiffs known of the propensity of the Class Product to harm
 2   babies and infants in the manner their son was harmed, Plaintiffs would not have
 3   purchased the product and certainly would not have paid the same price for the Class
 4   Product.
 5         22.     Plaintiffs would only consider purchasing the Class Product in the future
 6   if it could be made to conform with the representations on the label and throughout
 7   Defendant’s pervasive marketing scheme and actually be suitable for all children and
 8   all skin types.
 9         B.     Defendant
10         23.     Defendant Kimberly-Clark Corporation is a global consumer products
11   manufacturer organized under the laws of Delaware with its principal place of
12   business at 351 Phelps Dr., Irving, Texas. Defendant designed, formulated,
13   manufactured, marketed, and sold and continues to sell the Class Product in California
14   and throughout the United States and worldwide. On information and belief, Defendant
15   has unjustly profited from the sale of the Class Product and improperly retains millions
16   of dollars of consumer’s money as a result of its deceptive acts and practices detailed
17   herein.
18         24.     The Huggies brand is one of the largest advertising spenders for
19   consumer goods and spends tens of millions of dollars annually to create a pervasive
20   marketing message that its diapers are safe, suitable for the sensitive skin of young
21   children, are gentle, are free of harsh ingredients and that they are designed so that
22   babies and infants who wear them will remain comfortable and healthy. In fact,
23   Huggies was the first diaper brand to be featured in a super bowl advertisement in
24   February of 2021.
25         25.     At all relevant times, Defendant was present and doing business within
26   the State of California and sold its products throughout California and in each state of
27   the United States. Defendant expected, knew, or should have been aware that its
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 1   conduct would have adverse consequences within the State of California and in each
 2   state where it sold its products.
 3         26.     Defendant’s Class Products are sold at hundreds of local, national, and
 4   online retailers, including, but not limited to Costco, Walmart, Rite-Aid, Target,
 5   Amazon.com, and CVS, throughout the State of California and nationwide. Defendant
 6   advertises and promotes the Class Product within and throughout the State of
 7   California and nationwide. Defendant’s promotional representations regarding the
 8   Class Products are incomplete, false, and misleading and the resulting economic harms
 9   are not reasonably avoided by consumers in California or nationwide.
10   IV.   FACTUAL ALLEGATIONS
11         27.     Defendant’s Snug & Dry diapers were designed by Defendant to
12   incorporate its own patented chemical formulation layered within the diaper and which
13   is intended to absorb excess moisture and prevent irritation and rashes. Parents further
14   understand that by keeping their children’s skin dry and clean, diaper rash will be
15   minimized, and the sensitive skin of babies and infants will be protected. Unfortunately
16   for parents and children alike, the Class Product does not minimize diaper rash but
17   exacerbates it in certain babies and infants for as long as they wear the diaper. The
18   resulting injury causes persistent blistering, peeling, lesions, bleeding, and/or what
19   appear to be chemical burns and harms and disfigures the skin. In babies and infants
20   who develop persistent adverse skin reactions from wearing the Class Product, the
21   injury persists, sometimes for months, until the brand of diaper is changed. Though
22   parents and medical professionals try a gamut of remedies, the only effective remedy
23   to the persistent injury is to change the brand of diaper. It is only from that point on that
24   the skin begins to heal and the child is able to feel comfortable once again.
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           28.     While using the Class Product as directed many babies and infants have
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     experienced adverse reactions ranging from irritation and discomfort to peeling,
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     burning, blistering, and temporary or permanent scarring. Additionally, the discomfort
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 1   and pain that results from these adverse skin reactions causes otherwise happy children
 2   to become sullen or reserved due to the persistent pain of peeling, blistering, and open
 3   sores. Despite receiving a significant number of reports from consumers regarding the
 4   propensity of the Class Product to injure babies and infants, Defendant not only fails to
 5   warn consumers of potential adverse reactions, they assure them the product is safe for
 6   even sensitive skin.
 7         29.      Even without Defendant’s representations concerning gentleness and
 8   suitability for babies and infants, no reasonable consumer would anticipate that a diaper
 9   would cause persistent contact dermatitis, peeling, blistering, and/or chemical burns to
10   the most sensitive areas of a child’s skin. Moreover, absent a disclaimer or warning on
11   the Class Product label, parents simply do not connect the severe injuries experienced
12   by babies and infants with their choice of diaper from what they believe is a reputable
13   company with decades of experience manufacturing products for babies and infants and
14   with a pervasive marketing message that their product is designed to keep children
15   comfortable.
16         30.      In omitting and/or concealing known material information and
17   inadequately providing safety information pertaining to the Class Products, Defendant
18   intended to induce consumers to rely on incomplete information when deciding
19   whether to purchase and use the Class Product. By so doing, Defendant engaged in
20   conduct likely to mislead a reasonable consumer, including Plaintiffs and putative
21   Class members. As a consequence, Plaintiffs and the putative classes were unable to
22   reasonably     avoid    the    harm   resulting      from   Defendant’s   omissions   and
23   misrepresentations.
24                          A.     Defendant has long had knowledge of the propensity of
25                                 the Class Product to harm

26         31.      Defendant has long been aware of the propensity of the Class Product to
27   harm the babies and infants who wear them. Defendant has received complaints dating
28   back at least ten years from concerned parents who report that after switching to
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 1   Huggies Snug & Dry their child suddenly developed persistent and unusual rashes,
 2   peeling, blistering, bleeding, and/or chemical burns. Defendant’s website is replete
 3   with consumer complaints and Defendant even interacts with the posters on its website
 4   and invites them to call in so that Defendant can gather further information. However,
 5   despite possessing this information for years, and professing that the Class Product is
 6   engineered for comfort, health, and protection, Defendant does not disclose at the time
 7   of transaction or otherwise, that some babies and infants may be harmed as a result of
 8   their wearing the Class Product or that Parents should cease use of the product if their
 9   child experiences certain symptoms. Defendant intentionally omits this information at
10   or prior to the time of sale as it knows that warning parents of such facts may result in
11   diminished sales.
12          32.    Below is a sample of complaints left on the Huggies brand Class Product
13   webpage, owned, operated, and maintained by Defendant2 For over ten years, parents
14   have been complaining to Defendant of the diaper’s propensity to injure their children.
15   Notably, many of the reviewers note that as soon as they ceased use of the Class
16   Product the severe skin reactions began to heal. Ultimately, as a consequence of the
17   injury visited upon their children, parents are left with an unusable product that has no
18   value and for which they overpaid:
19          I have used these diapers for a few days and they leave weird, gooey
            crystals all over the babies genitals and they are hard to remove and my
20          son has a terrible rash that he has never had before! It is from the diapers!
            They should be recalled! [January 2021];
21
22          We have been using Huggies Little Snugglers, but every time we use the
            Snug and Dry my baby girl gets an extremely bad diaper rash. This time
23          is worse then last time, not quite bad enough to visit the Dr. but it is a
            close call. Will not be using the Snug and Dry again, but will be returning
24          to Little Snugglers. [December 2020];
25          I switch between huggies little movers and snug and dry and I just started
            putting two and two together that every time we use a box of snug and
26          dry it cause a rash and a trip to the doctors office to get a prescription
            cream. The last time we used snug and dry diapers was the worst rash
27          my daughter has gotten. The skin actually broke on her feminine parts
28      2
         https://www.huggies.com/en-us/diapers/snug-and-dry
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 1       and was bleeding. Please be cautions of these diapers. I be seen lots of
         other complaints about these diapers, is nothing be done about this?
 2       [November 2020];
 3       The blue dye on the inside of the diaper causes rashes for girls. Love the
         other buggies diapers though [August 2020];
 4
         I bought these for my baby thinking they would work great because I’m
 5       a big fan of Huggies swaddlers. Big mistake, my 10 week old baby broke
 6       out in a horrible rash. Never again will I purchased these. Such a waste
         of money. Sad part is I received a few boxes as gifts and they will go to
 7       waste. [August 2020];

 8       Just tried these on my 9 month old and instantly got a very bad diaper
         rash almost like a chemical burn. Will not be using again [August 2020];
 9
         Bought a box of Huggies snug and dry size 4 for my 1 year old son and
10       after the second diaper change after him only wearing it for an hour
         because I believe the 12 hour dryness claim to be a crock of !&?$ noticed
11       what appeared to be chemical burns or a severe rash between his legs I
         am serious considering taking legal action tried calling the call centre but
12       is closed I will be contacting someone about this I urge anyone to take
         severe caution when using this product seeing the pain my son was in
13       from a diaper that claims to keep him snug and dry broke my heart
         [August 2020];
14
         We have used this diaper for 18 months and unfortunately now they have
15       given my son a chemical burn. So just be careful. This was our first box
         with an issue. I’m also now left with an entire box of diapers we can’t
16       use! [August 2020];
17
         I was using pampers diapers when my girl was born and thought they
18       were great but with the new quarantine situation I could no longer locate
         them and therefore started using the Huggies snug and dry. That’s where
19       my problem began my daughters private area turned completely red and
20       so I just bought an a&d diaper ointment and thought nothing of it 5 days
         pass and her private area is completely raw like so pink to the point that
21       it’s painful for her I then thought that maybe it’s the diapers and
         proceeded to use my last pampers diapers that was in a size 2. Her. Rash.
22       Cleared. Up. I’m so disappointed now because I bought the largest box
         of Huggies I could find and now I can’t use it. [One year ago];
23
24       I bought these diapers for my baby girl. Hadn’t had any other issues with
         other huggies diapers, so I bought the 144 pack. Turns out it is giving
25       her a rash on her bottom. I’m thinking because of the blue patch inside
         that quicken the moisture away and “dry”. Her bottom is all red and sore.
26       So now I have tons of diapers that she can’t use and I can’t return. [Two
         years ago];
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 1       My daughter broke out in a horrible rash. It looked more like a chemical
         burn and woke her up in the middle of the night. We had just bought
 2       these diapers and bought a month supply. It is horrible. We immediately
         changed the diapers to what we were using before and the rash/burn
 3       cleared up. I would definitely NOT recommend these diapers to anyone.
         [Three years ago];
 4
 5       I have 2 children and have always been big on the Huggies brand of
         diapers. Until now, I bought my oldest son (18 months) 2 packs of
 6       Huggies Snug and dry diapers after he started wearing them he began
 7       getting what looked to be a rash on his leg around where the edge of the
         diaper hit. And it had since turned into what looks like a chemical burn
 8       Type rash. Will not be using this brand of Huggies ever again. If any
         Huggies at all. [Three years ago];
 9
10       I bought the snug and dry diapers for my toddler 2 months ago through
         Amazon subscription. I was excited bc it was a great savings compared
11       to the luvs we were buying from Walmart. He never has a diaper rash,
         but I started noticing his bottom stayed red all of sudden and he would
12       cry(sometimes scream) when I changed him. It seemed odd but I hadn't
         even thought it may be the diapers.
13       Well we ran out before the next shippment came and so we bought our
         usual luvs. He had zero issues with a diaper rash during this time.
14       The next box arrived last week. After just 2 days of using the huggies
         again his bottom is bright red! He screams when he soils the diaper. He
15       screams when we change and bathe him so much that his little body is
         shaking! It is absolutely the diapers causing the rash! I'm have about 160
16       diapers left and I'm throwing them out!! [Three years ago];
17
         I bought this product for my son as we have always used huggies and
18       when we saw the Mickey Mouse design we fell in love... up until we
19       used them.... WORST MISTAKE EVER. Within the space of his day
         sleep (that and overnight are the only time he’s in nappies) it had burnt
20       through his skin leaving him with a festy blustery sore which if I’m lucky
         will repair within 3 weeks. I’m very very deterred from buying anything
21       even remotely huggies related anymore and I have made sure I have
         publicly announced this terrible and child deforming product. I am
22       disgusted. [Three years ago];
23
         I was using this product & started to notice a rash on my DS. Then I
24       stopped for a bit then used it again to make sure it was the snug n dry
         diapers. & it was ! Other people I kno agree [Four years ago];
25
26       I bought 2 weeks ago my son got horrible rashes. Leaked everywhere.
         They changed to red black bit sure if quality is not equally good as
27       previous. [Four years ago];
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 1       My son instantly got a severly swollen, red blistering rash on every part
         of his skin that the diaper made contact with after getting wet. He's in a
 2       lot of pain. After bathing, he's walking like he's in lots of pain, still won't
         sit and is laying down with his blistered butt in the air. After the first
 3       diaper change, changing back to little movers, the swelling has gone
         down but the redness and blistering is still there. I'm so upset that my son
 4       is in so much pain and possibly for days! [Four years ago];
 5
         I bought these diapers because I couldn't beat the price. At Walmart there
 6       were $24.95. I usually spend about $40 on a box of diapers. My son is
 7       usually okay with huggies. He's only been wearing these diapers for three
         days now and he has severe burns on his male areas. Every time he pees
 8       currently he's been screaming from the pain. He has blisters and is all
         red. He was perfectly fine before these diapers. The doctor said he had a
 9       chemical burn. Tomorrow we're switching back to his old diapers.
         Usually he's really good with huggies and we've had nothing but luck but
10       for some reason this one wasn't good at all. [Four years ago];
11
         These diapers were a great fit for my daughter, and ultra absorbent, but
12       whatever is in the diaper caused an allergic reaction after wearing them.
         I caution those who have babies with sensitive skin to not use these. My
13       daughter doesn't even have sensitive skin and she got a rash! If she didn't
         break out from the diaper, we probably would've continued using these
14       as opposed to buying another type of Huggies brand diaper. :) [Six years
         ago];
15
         my daughter got a horrible chemical burn from these... HATE them!!!!!!
16       [Seven years ago];
17       Bought a bulk poack of 176 of these because they were on sale. I quickly
18       figured out why. Not even 48hrs in these and my poor daughter (1mo
         old) had blisters on her bottom. Her top layer of skin was peeling off and
19       she was bleeding. I quickly rushed her to her pediatricians office and
         they prescribed us a cream for 2nd degree burns. This is bull!!! And of
20       course since I don't have the receipt and discarded the box, nothing will
         be done. I would have saved the box but we have diaper storage on the
21       changing table. So here we are stuck with over 150 diapers and out $35.
         Thanks a ton Huggies. [Seven years ago];
22
         the diapers fit perfectly but they caused a severe diaper rash on my
23       daughter. ive also read online that this particular brand can cause
         chemical burns in infants. [Eight years ago];
24
         I have been using both huggies & pampers for the past year with no
25       problems (leakage,rashes.etc). But about 4 wks ago I brought pampers
         and notice very bad itching, redness, blisters it is horrible. Then we came
26       to the conclusion it was the diapers. So I when brought huggies snug &
         dry and its having the same effect. Wish i would have researched huggies
27       too. We trust these top brands and now my baby is miserable, we'll losing
28       sleep and $$$$$ [Eight years ago];
                                              - 15 -
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 1
         I started out with my baby wearing Huggies Pure and Natural Diapers.
 2       They worked a great deal better than other Natural diaper brands on the
         market on the shelves. I still needed something a bit more absorbent
 3       though and preferred something still more natural. I changed to an All
         Natural Disposable diaper I had to order online and couldn't have been
 4       happier. I misjudged my order and was going to be 4 days without
         diapers. I went to my local store to buy a small package of Huggies to
 5       get through the next 4 days. Snug and Dry was the smallest amounts I
 6       could purchase and figured they would work for 4 days. I was wrong.
         After only 3 days of use my 7.5 month old had her first case of diaper
 7       rash, EVER. Her bottom is raw and bleeding. Just from using diapers for
         3 days. That just shows what a horrible product you are selling for babies
 8       skin. Please think about selling your Natural diapers in a variety of
         package sizes, smaller and larger as well. [Eight years ago];
 9
         The first time I bought this specific type of diapers my daughter got a
10       really bad diaper rash and it took 3 months for it to go away! I went to
         the doctor with her every week and she was prescribed 3 different butt
11       paste. I did not think the diapers had done it so I went back to the Hughes
         slip-ons. Just a week ago I got another box of the snug and dry (all they
12       had in the store) and the diapers rash is back! And it is worst!!!!! Nothing
         makes this rash go away besides changing her diapers back to slip ons! I
13       will never buy snug and dry ever again! Huggies, I love you but get your
         act together!!!!!! [Eight years ago];
14
         We have been using huggies when ever we are not using cloth, this snug
15       and dry is the only diaper to ever give her a diaper rash. We have used
         the little movers and the all natural diapers and they have never caused
16       a problem but the snug and dry are horrible for her. [Nine years ago];
17       I used Huggies on my son and loved them. Now with my daughter
18       anytime she wears a huggies diaper, she get an instant rash! It's crazy.
         Every area that contacts the diaper is now red. She was completely clear
19       and after wearing one huggies she got a horrible rash. [Ten years ago];
20       Not sure if it was the RashGaurd Ingredients or what, but the Huggies
         Snug and Dry gave my LO a rash... it went away when we switched to a
21       different type of Huggies, though. Love Huggies, just not this kind! [Ten
         years ago].
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 1          33.    Target.com and other retailers are replete with reviews from parents3
 2   concerned about the harm experienced by their children after they used the Class
 3   Product. And just as with the Huggies website, Defendant interacts with these reviewers,
 4   denies that the diaper could be responsible and invites further information:
 5
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27
28      3
         https://www.target.com/p/huggies-snug-dry-diapers-select-size-and-count/-/A-50445532
                                                  - 17 -
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 1          34.    Amazon reviewers similarly complain of harm to their children
 2   resulting from use of the Class Product:
 3
 4
 5
 6
 7
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18
            35.    Defendant’s Amazon.com storefront4, promises parents that Huggies
19
     brand diapers are gentle, offer “unbeatable protection,” absorb excess moisture, and
20
     are free of allergens like latex, parabens, fragrances, and elemental chlorine. These
21
     representations help convince consumers that the Class Product is suitable for sensitive
22
     skin despite Defendant’s knowledge that they cause significant, unusual and
23
     unexpected rashes, peeling, and/or chemical burns:
24
25
26
27
        4
         https://www.amazon.com/Huggies-Snug-Baby-Diapers-
28   Newborn/dp/B0839BSJP7?ref_=ast_sto_dp&th=1&psc=1
                                               - 18 -
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 2
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 4
 5          36.   As consumers checkout from Defendant’s Huggies brand Amazon.com
 6   storefront, they are presented with photos and text that assure parents that the Class
 7   Product contains “No Harsh Ingredients – Hypoallergenic and free of fragrances,
 8   parabens, elemental chlorine & natural rubber latex.”
 9
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20          37.   The issue does not appear to be limited to the United States and

21   Defendant should be on notice of international reports of injury resulting from the

22   Class Product. On January 25 of 2019 an Australian website published the story5 of a

23   three-year-old girl who suffered from third degree chemical burns as a result of her

24   wearing Huggies Dry Nites diapers, which, on information and belief, use the same

25   chemical absorbent as does the Class Product. The story details not only the horrific

26   injury to the child but also the apparent indifference on the part of Defendant who,

27   despite the many complaints it has received over the years, called it an “isolated

28      5
        Huggies: Girl gets third degree chemical burns after wearing nappy - Kidspot
                                                   - 19 -
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 1   incident.”
 2         38.    Defendant offered and continues to offer consumers a misleading
 3   response to their complaints and denies that the diapers could be responsible for the
 4   reactions that babies and infants are experiencing as a result of wearing the Class
 5   Product. Defendant does so in an effort to actively conceal from discovery the true
 6   qualities and characteristics of the Class Product. Defendant essentially brushes away
 7   these concerns but collects and analyses information about these injuries which they
 8   then conceal from the public.
 9                       B.    Defendant’s marketing is misleading and conceals the
                               true nature of the Class Product
10
           39.    Defendant is in the business of developing, designing, manufacturing,
11
     marketing, advertising, and distributing Huggies diapers and other personal care and
12
     cleaning products to consumers. Huggies brand diapers, including the Snug & Dry
13
     diapers, are among the top-selling diapers in the country and is sold in supermarkets,
14
     convenience stories, and pharmacies throughout the United States.
15
           40.    Through its advertising and marketing, Defendant promoted and
16
     continues to promote Huggies as being safe and comfortable for infants. The Huggies
17
     website assures consumers that “Huggies helps keep skin clean and healthy,” but this
18
     statement is not qualified and no warning allows consumers to identify that the Class
19
     Product may be the source of their child’s injury, allowing the harm to continue
20
     unnecessarily.
21
22
23
           41.    Moreover, Defendant assures parents that Huggies brand diapers are
24
     gentle, which creates the misleading impression in the minds of consumers that they
25
     will not cause the injuries complained of herein:
26
27
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 1         42.     Further still, Defendant is well aware that skin types and their
 2   sensitivities are unique amongst people but still fails to qualify the misleading
 3   impression its pervasive marketing statements create:
 4
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16         43.     Yet, despite Defendant’s awareness of the propensity of its products to

17   harm children, it neither discloses this fact to consumers nor does it qualify any of its
18   affirmative representations concerning its suitability for babies and infants. At the very
19   least, Defendant should include disclaimer language to allow parents to identify the
20   source of their children’s injury and cease use of the product to prevent ongoing and
21   future harm. At the very least, parents of injured children could identify the source of
22   the injuries and mitigate further harm if they were put on notice via a simple label
23   disclaimer. But Defendant does not do so because it fears a loss of sales that would
24   result should it disclose what it knows about the Class Product’s propensity to harm.
25         44.     Plaintiffs and the Class did, and a reasonable consumer would, expect
26   the Product to be safe and comfortable for infants. Irrespective of any affirmative
27   representations made by Defendant on the Class Product label or otherwise, no
28   reasonable consumer would expect the Product to cause prolonged painful rashes,
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 1   persistent contact dermatitis, blistering, bleeding, and/or chemical burns that
 2   necessitate medical care. Defendant’s omissions are particularly egregious because
 3   they harm a vulnerable population, i.e., young children and their loving parents.
 4            45.   As a result of Defendant’s affirmative representations and omissions,
 5   Plaintiffs and Class members were misled into purchasing an unsafe product, which
 6   did not provide the attributes and benefits that were represented to them and which
 7   they reasonably expected to receive and believed they were receiving. As a result of
 8   Defendant’s deceptive acts and practices, Plaintiffs and Class members purchased a
 9   product that was not safe for its intended use, did not offer the qualities for which it
10   had been advertised, and failed to include necessary language on the Class Product
11   labels.
12            46.   Defendant failed to warn consumers that the Product carried the
13   unreasonable and unanticipated dangers experienced by Plaintiffs and members of the
14   Class.
15            47.   Defendant owed a legal duty to Plaintiffs and Class members to
16   exercise reasonable care by developing, manufacturing, and marketing a product
17   that was safe for its intended use. Defendant knew or should have known that its
18   failure to ensure reasonable safety standards would cause serious pain and injury to
19   vulnerable infants and cause economic and other harm to the parents of those infants.
20   Defendant further owed a legal duty to warn consumers of known risks associated with
21   the Class Product, particularly in response to consumer complaints of harm.
22            48.   Plaintiffs and Class members would not have purchased the Product
23   had they known of its propensity to harm.
24            49.   Plaintiffs and Class members had no reasonable way of independently
25   discovering that the Class Product did not conform to Defendant’s representations and
26   had a substantial chance of harming the very children that Parents sought to keep safe
27   from harm.
28
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 1         50.     Defendant breached its duty to consumers, which directly and
 2   proximately resulted in Plaintiffs and other Class members suffering injury in fact,
 3   physical injury and suffering, financial injury, the personal expenditure of time and
 4   resources, and mental anguish.
 5         51.     Plaintiffs and Class members were injured financially because the
 6   condition of the Class Product, as it left the possession and control of Defendant, was
 7   in an unreasonably dangerous condition, contained unreasonably harmful ingredients,
 8   and/or was not properly labeled. Defendant’s Class Product has little to no value to
 9   consumers as no parent would continue to use diapers that do, or even could, cause the
10   type of harm experienced by Plaintiffs’ son. Because diapers that cause an unusual rate
11   of rashes, peeling, blistering, and/or burning are essentially unusable, the Class Product
12   has little to no value and Plaintiffs and members of the Class were deprived of the
13   benefit of their bargain.
14                        C.     Tolling of the Statute of Limitations
15         52.     Defendant has concealed from discovery the material facts identified
16   herein by repeatedly affirming its representations as to gentleness, suitability for
17   sensitive skin, a focus on keeping babies’ and infant’s skin clean and healthy, the
18   absence of harsh ingredients, and other statements that run contrary to the facts known
19   to Defendant. Additionally, by denying to reviewers who complain of the issues
20   identified herein that Huggies could cause any reaction at all and refusing to include a
21   warning regarding the possibility of severe rash, blistering, peeling, and/or chemical
22   burns Defendant engaged in active concealment.
23         53.     Moreover, even through the exercise of ordinary diligence, Plaintiffs and
24   the other Class members could not have reasonably discovered, and could not have
25   known of facts that would have caused a reasonable person to suspect, that Defendant
26   failed to disclose material information within its knowledge about the propensity of
27   the Class Product to harm.
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 1   V.    CLASS ACTION ALLEGATIONS
 2   54.           Plaintiffs seek to represent a class consisting of:
 3         All persons or entities who purchased the Class Product in California
 4         during the applicable limitations period, and/or such subclasses as the
           Court may deem appropriate (“the California Class”)
 5
 6         55.     The proposed Class excludes current and former officers and directors
 7   of Defendant, members of the immediate families of the officers and directors of
 8   Defendant, Defendant’s legal representatives, heirs, successors, assigns, and any entity
 9   in which it has or has had a controlling interest, and the judicial officer to whom this
10   lawsuit is assigned.
11         56.     Plaintiffs reserve the right to revise Class definition and/or amend the
12   Complaint based on facts learned in the course of litigating this matter.
13         57.     Class members are so numerous that joinder of all members is
14   impracticable. While the exact number of Class members is unknown to Plaintiffs at
15   this time and can only be ascertained through the appropriate discovery, Plaintiffs
16   believe that there are thousands of members in the proposed Class. Other members
17   of the Class may be identified from records maintained by Defendant and may be
18   notified of the pendency of this action by mail, or by advertisement, using the forms
19   of notice customarily used in class actions such as this.
20         58.     Plaintiffs’ claims are typical of the claims of other Class members as
21   all Class members are similarly affected by Defendant’s wrongful conduct.
22         59.     Plaintiffs will fairly and adequately protect the interests of Class
23   members in that Plaintiffs have no interests antagonistic to those of other Class
24   members. Plaintiffs have retained competent counsel experienced in class litigation.
25         60.     A class action is superior to other available methods for the fair and
26   efficient adjudication of this controversy. Since the damages sustained by individual
27   Class members may be relatively small, the expense and burden of individual
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 1   litigation make it impracticable for them to individually seek redress for the wrongful
 2   conduct alleged herein. If class treatment of these claims were not available,
 3   Defendant would likely unfairly receive hundreds of thousands of dollars or more in
 4   improper charges.
 5         61.          Common questions of law and fact exist as to all Class members and
 6   predominate over any questions solely affecting individual Class members. Among
 7   the common questions of law and fact to the Class are:
 8               i.      whether Defendant made misrepresentations and/or deceptive
 9   omissions concerning the safety and efficacy of the Product;
10               ii.     whether Defendant’s marketing, promotion and advertising of the
11   Product is false, fraudulent, deceptive, unlawful, unfair, or misleading;
12               iii.    whether Defendant’s marketing, promotion, advertising and sale of
13   the Product is and was a deceptive act or practice in the conduct of business
14   directed at consumers, giving rise to a violation of Cal. Civ. Code § 1750, et seq.;
15               iv.     Cal. Bus. & Prof. Code § 17500, et seq.
16               v.      whether Plaintiffs and Class members sustained injuries or damages as
17   a result of Defendant’s false advertising of the Product;
18               vi.     whether Plaintiffs and Class members are entitled to equitable relief
19   and injunctive relief enjoining Defendant from continuing to engage in the fraudulent,
20   deceitful, unlawful and unfair common scheme as alleged in this Complaint; and
21               vii.    whether Defendant’s conduct rises to the level of reprehensibility
22   under applicable law such that the imposition of punitive damages is necessary and
23   appropriate to fulfill the societal interest in punishment and deterrence, and the
24   amount of such damages and/or their ratio to the actual or potential harm to the Class.
25         62.          The prosecution of this action as a Class action will reduce the
26   possibility of repetitious litigation. Plaintiffs know of no difficulty which will be
27   encountered in the management of this litigation which would preclude its
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 1   maintenance as a class action.
 2         63.     A class action is superior to other available methods for the fair and
 3   efficient adjudication of this controversy. The damages suffered by any individual
 4   class member are too small to make it economically feasible for an individual class
 5   member to prosecute a separate action, and it is desirable for judicial efficiency to
 6   concentrate the litigation of the claims in this forum. Furthermore, the adjudication
 7   of this controversy through a class action will avoid the potentially inconsistent and
 8   conflicting adjudications of the claims asserted herein. There will be no difficulty in
 9   the management of this action as a class action.
10         64.     The prerequisites to maintaining a class action for injunctive relief or
11   equitable relief pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused
12   to act on grounds generally applicable to the Class, thereby making appropriate final
13   injunctive or equitable relief with respect to the Class as a whole.
14   65.           The prerequisites to maintaining a class action for injunctive relief or
15   equitable relief pursuant to Rule 23(b)(3) are met, as questions of law or fact
16   common to the Class predominate over any questions affecting only individual
17   members and a class action is superior to other available methods for fairly and
18   efficiently adjudicating the controversy.
19         66.     The prosecution of separate actions by members of the Class would
20   create a risk of establishing inconsistent rulings and/or incompatible standards of
21   conduct for Defendant.
22         67.     Defendant’s conduct is generally applicable to the Class as a whole and
23   Plaintiffs seek, inter alia, equitable remedies with respect to the Class as a whole. As
24   such, Defendant’s systematic policies and practices make declaratory relief with
25   respect to the Class as a whole appropriate.
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 1                                FIRST CAUSE OF ACTION
 2   VIOLATION OF THE CALIFORNIA CONSUMER LEGAL REMEDIES ACT
 3                            (CAL. CIV. CODE §§ 1750, et seq.)
 4         68.     Plaintiffs restate and reallege, and incorporate herein by reference, the
 5   preceding paragraphs as if fully set forth herein and further alleges as follows:
 6         69.     Plaintiffs bring this cause of action on behalf of themselves, and all
 7   similarly situated residents of the state of California for violations of California’s
 8   Consumer Legal Remedies Act (“CLRA”), which prohibits misrepresentations in
 9   commerce and unfair or deceptive business practices.
10         70.     The Class Product is a “good” as defined by California Civil Code §
11   1761(a).
12         71.     Defendant is a “person” as defined by California Civil Code section
13   1761(c).
14         72.     Plaintiffs and Class members are “consumers” within the meaning of
15   California Civil Code § 1761(d) because they purchased the Class Product for
16   personal, family, or household use.
17         73.     The sale of the Class Product to Plaintiffs and the putative Class
18   members is a “transaction” as defined by California Civil Code § 1761(e).
19         74.     Defendant’s acts and practices, which were intended to result, and which
20   did result, in the sale of the Class Product, violate the Consumer Legal Remedies Act
21   for at least the following reasons:
22           a.   Defendant represented that the Class Product has characteristics, uses or
23   benefits which they do not have;
24           b.   Defendant advertised their goods with intent to not sell them as advertised;
25           c.   Defendant represented that their products are of a particular standard,
26   quality, or grade when they are not; and
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 1           d.   Defendant represented that its goods have been supplied in accordance
 2   with a previous representation when they have not.
 3         75.        As described above, Defendant knew that the Class Product has a
 4   propensity to cause severe, unanticipated, and harmful reactions when used as directed,
 5   but concealed and failed to adequately disclose this fact to consumers at the point of
 6   sale, on the product label, through promotional efforts, or otherwise. Defendant
 7   intended that Plaintiffs and the members of the proposed Class rely on its affirmative
 8   representations and/or the omission of these material facts in deciding to purchase the
 9   Class Product.
10         76.        By deceptively omitting material information regarding the propensity
11   of the Class Product to cause sudden, persistent, and severe reactions to the skin of
12   infants and babies, Defendant violated California Civil Code sections 1770(a)(5), (7),
13   (9), and (16).
14         77.        In failing to disclose the nonconformity of the Class Product to its label
15   and/or propensity of the Class Product to harm, Defendant has knowingly and
16   intentionally concealed material facts and breached its duty not to do so.
17         78.        The facts concealed or not disclosed by Defendant to Plaintiffs and the
18   Class are material in that a reasonable consumer would have considered them to be
19   important in deciding whether to purchase Defendant’s products rather than that of a
20   competitor, or pay a lesser price for the products.
21         79.        Defendant made unambiguous representations as to the safety of the
22   Class Product while suppressing some material facts regarding the severity and
23   frequency of the skin reactions caused by the Class Product.
24         80.        Plaintiffs and the Class members were harmed and suffered actual
25   damages as a result of Defendant’s unfair competition and deceptive acts and practices.
26   Had Defendant disclosed the true nature and/or danger inherent in its products,
27   Plaintiffs and members of the Class would not have been misled into purchasing
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 1   Defendant’s products or would have paid significantly less for them.
 2         81.     Plaintiffs, on behalf of themselves and all other similarly situated
 3   California consumers, and as appropriate, on behalf of the general public of the State
 4   of California, seek injunctive relief prohibiting Defendant from continuing these
 5   unlawful practices pursuant to California Civil Code § 1782(a)(2).
 6         82.     Plaintiffs provided Defendant with notice of its alleged violations of the
 7   CLRA pursuant to California Civil Code § 1782(a) via certified mail, demanding that
 8   Defendant correct such violations. As Defendant has made no answer within 30 days
 9   of its receipt of the CLRA demand, Plaintiffs now seek all available damages under
10   the CLRA for all violations complained of herein, including, but not limited to, actual
11   and statutory damages, punitive damages, attorney’s fees and costs and any other relief
12   that the Court deems proper.
13
                                SECOND CAUSE OF ACTION
14
             VIOLATION OF CALIFORNIA’S FALSE ADVERTISING LAW
15
                        (CAL. BUS. & PROF. CODE § 17500, et seq.)
16
           83.     Plaintiffs restate and reallege, and incorporate herein by reference, the
17
     preceding paragraphs as if fully set forth herein and further alleges as follows:
18
           84.     Plaintiffs bring this cause of action on behalf of themselves and all
19
     similarly situated consumers for violations of California’s False Advertising Law
20
     (“FAL”).
21
           85.     California’s FAL prohibits any statement in connection with the sale of
22
     goods “which is untrue or misleading.” Cal. Bus. & Prof. Code §17500.
23
           86.     The FAL further prohibits disseminating within or from California, or
24
     any state, any statement which is untrue, or misleading, and which the disseminator
25
     knows, or should know, to be untrue or misleading, in connection with commercial
26
     advertisements.
27
           87.     As set forth herein, Defendant’s claims regarding the safety and efficacy
28
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 1   of the Class Product are literally false and likely to deceive the public. Absent
 2   qualification, these claims are false and misleading because the Class Product does
 3   harm a significant number of users and the representations as to the safety and
 4   gentleness of the product are contrary to the known hazards associated with the Class
 5   Product.
 6         88.     Defendant knows, or should know, of a not insignificant number of
 7   reports from affected consumers that the Class Product is harming their users and that
 8   the Class Labels are inadequate, misleading, and false. Defendant receives information
 9   pertaining to injuries associated with use of the Class Product through call-in lines,
10   website reviews, consumer complaints generally, and have received and compiled
11   these complaints from the United States and other parts of the world where Defendant
12   sells the Class Product.
13         89.     Defendant’s claims that the Class Product are “gentle,” “keep skin clean
14   and healthy,” and offer “unbeatable protection” are misleading and/or untrue. Such
15   claims cause consumers to believe that the Class Product is gentle, appropriate for
16   sensitive skin, and actually protects and promotes skin health. Clearly, these claims
17   are misleading as they tend to obscure any inference that the Class Product are
18   anything but safe. Defendants knew, or reasonably should have known, that these
19   claims were untrue or misleading.
20         90.     Defendant’s conduct is ongoing and continuing and the threat of
21   imminent harm to uninformed consumers is substantial, such that prospective
22   injunctive relief is necessary. Such injunctive relief is necessary to prevent consumers
23   who rely on the Class Product labels from being harmed by unanticipated adverse skin
24   reactions. Injunctive relief would prevent future harm by requiring Defendants to
25   disclose known hazards and admonishing consumers to conduct a preliminary skin test
26   to determine the Class Product’s suitability for their particular skin. Further, Plaintiff
27   and putative Class members desire to purchase the Class Product in the future if the
28   products could be made to conform with the representations of the Class Product
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 1   labels.
 2         91.     Plaintiffs and members of the Class are entitled to injunctive and
 3   equitable relief, and restitution/disgorgement in the amount they spent on the Class
 4   Product in addition to all other relief afforded by the Court.
 5                               THIRD CAUSE OF ACTION
 6             VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW
 7                       (CAL. BUS. & PRO. CODE §§ 17200, et seq.)
 8         92.     Plaintiffs restate and reallege, and incorporate herein by reference, the
 9   preceding paragraphs as if fully set forth herein and further alleges as follows:
10         93.     Plaintiffs bring this cause of action on behalf of themselves and all
11   similarly situated consumers for violations of California’s Unfair Competition Law
12   (“UCL”).
13         94.     Defendant has violated and continue to violate California’s Unfair
14   Competition Law, Cal. Bus. & Prof. Code § 17200, et seq., which prohibits unlawful,
15   unfair, or fraudulent business acts or practices.
16         95.     Defendant’s acts or practices, as alleged in this complaint, constitute
17   unlawful, unfair, and fraudulent business practices, in violation of the Unfair
18   Competition Law. In connection with the sale of the Class Product to Plaintiff and the
19   Class members, Defendant failed to disclose, on the Class Product labels or otherwise,
20   material information about the Class Product. Defendant failed to disclose, and/or
21   concealed, that the chemicals and/or formulations used in the Class Product pose a
22   safety hazard to a substantial number of consumers.
23         96.     Defendant knew the Class Product would harm potential and actual
24   consumers, did not meet consumer expectations regarding the anticipated risks
25   associated with using diapers formulated for infants and babies, and lacked the
26   necessary disclosures to allow consumers to make reasonably informed decisions
27   about whether to purchase or use the Class Product.
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 1         97.     Defendant made unambiguous representations to consumers to ensure
 2   them that the Class Product are safe for even the most sensitive skin while suppressing
 3   some material facts regarding the severity and frequency of the adverse skin reactions
 4   caused by the Class Product and known to Defendant.
 5         Unlawful Prong
 6         98.     Defendant’s practice of marketing the Class Product as being of a
 7   particular standard and quality and omitting material information regarding the
 8   defective and/or harmful nature of the ingredients used in the Class Product is
 9   prohibited by Cal. Civ. Code §§ 1770(a)(5), (7), (9), and (16), and is therefore an
10   “unlawful” business practice in violation of the UCL.
11         99.     Defendant’s deceptive business acts and practices regarding the sale of
12   the Class Product and/or omissions regarding the propensity of the formula used in the
13   Class Product to harm consumers violate Cal. Bus. & Prof. Code § 17500, et seq., and
14   are therefore “unlawful” business practices.
15         100.    These deceptive business acts and practices, including the misleading
16   materials, advertisements, labels, and other inducements were directed at consumers
17   in the State of California, and nationwide, by Defendant.
18         101.    As a direct and proximate result of Defendant’s “unlawful” business
19   practices as alleged herein, Plaintiffs and each Class member have been wrongfully
20   deprived of money and/or property. Plaintiffs and each Class member suffered an
21   injury-in-fact as a result of Defendant’s misleading and deceptive advertising, and
22   omissions of material facts regarding the propensity of the formula used in the Class
23   Product to harm consumers. Had Defendant not falsely represented the Class Product
24   as being of a particular standard and quality that they in fact were not, Plaintiffs and
25   members of the Class would not have purchased the Class Product, or they would have
26   paid significantly less.
27
28
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 1         Unfair Prong
 2         102.    Plaintiffs and the Class members reasonably expected the Class Product
 3   to be of a certain quality and standard, and that the Class Product would not create a
 4   sudden and severe skin reaction, given that they are marketed and priced as a safe and
 5   trusted product. This is the reasonable and objective consumer expectation for
 6   children’s diapers advertised as Defendant advertised the Class Product.
 7         103.    Defendant knew that the Class Product were inherently dangerous and
 8   had a propensity to cause sudden and severe adverse skin reactions. Defendant made
 9   unambiguous representations as to the safety of the Class Product while suppressing
10   some material facts regarding the severity and frequency of the skin reactions caused
11   by the Class Product.
12         104.    By failing to disclose the defective nature of the Class Product,
13   Defendant has knowingly and intentionally concealed material facts and breached its
14   duty not to do so.
15         105.    Defendant’s unfair and deceptive acts or practices occurred repeatedly
16   in Defendant’s trade or business and were capable of deceiving a substantial portion
17   of the purchasing public.
18         106.    Defendant’s marketing practices and omission of material facts
19   regarding the inferior quality and propensity of the Class Product to harm is immoral,
20   unethical, oppressive, unscrupulous, and substantially injurious to consumers.
21         107.    Plaintiff and Class members who purchased the Class Product had no
22   way of reasonably knowing that the diapers were defective and posed safety risks due
23   to Defendant’s deceptive marketing, advertising, and/or omission of material
24   information. Thus, Plaintiff and Class members could not have reasonably avoided
25   the injury they suffered.
26         108.    The gravity of harm to Plaintiffs and the Class greatly outweighs any
27   countervailing benefits to Defendant, competition, or the consumer marketplace
28
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 1   generally.
 2         Fraudulent Prong
 3         109.    Defendant knew that the Class Product were inherently dangerous and
 4   had a propensity to cause sudden and severe adverse skin reactions. Defendant made
 5   unambiguous representations as to the safety and suitability of the Class Product while
 6   suppressing some material facts regarding the severity and frequency of the skin
 7   reactions caused by the Class Product.
 8         110.    By failing to disclose the defective nature of the Class Product,
 9   Defendant has knowingly and intentionally concealed material facts and breached its
10   duty not to do so.
11         111.    Defendant’s unfair and deceptive acts or practices occurred repeatedly
12   in Defendant’s trade or business and were capable of deceiving a substantial portion
13   of the purchasing public.
14         112.    Defendant’s marketing practices and omission of material facts
15   regarding the inferior quality and propensity of the Class Product to harm is immoral,
16   unethical, oppressive, unscrupulous, and substantially injurious to consumers.
17         113.    Plaintiffs and Class members who purchased the Class Product had no
18   way of reasonably knowing that the diapers were defective and posed safety risks due
19   to Defendant’s deceptive marketing, advertising, and/or omission of material
20   information. Thus, Plaintiffs and Class members could not have reasonably avoided
21   the injury they suffered.
22         114.    The gravity of harm to Plaintiffs and the Class greatly outweighs any
23   countervailing benefits to Defendant, competition, or the consumer marketplace
24   generally.
25         115.    Defendant’s actions alleged herein violate the laws and public policies
26   of California, as set out throughout this Complaint.
27         116.    As a direct and proximate result of Defendant’s unfair and deceptive
28
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 1   practices, Plaintiffs and putative Class Members have suffered and will continue to
 2   suffer actual damages.
 3         117.    Accordingly, Defendant received and is in possession of excessive and
 4   unjust revenues and profits, and/or have caused Plaintiffs and other Class members to
 5   lose money or property directly as a result of Defendant’s wrongful acts and practices.
 6         118.    As a result of the above unlawful acts and practices of Defendants,
 7   Plaintiffs, on behalf of themselves and all others similarly situated, and as appropriate,
 8   on behalf of the general public of the state of California, seek injunctive relief
 9   prohibiting Defendant from continuing these wrongful practices and ordering
10   Defendant to disclose all material information concerning the Class Product to past
11   and   prospective    consumers,     and   such      other   equitable   relief,   including
12   restitution/disgorgement of either (1) the full purchase paid by customers who
13   purchased Class Product, or (2) a portion of the purchase price paid by customers who
14   purchased Class Product reflecting the difference in value between what Defendant
15   represented to consumers and the product that Defendant actually delivered to
16   consumers, to the fullest extent permitted by law.
17   VI.   PRAYER FOR RELIEF
18
           WHEREFORE, Plaintiffs and the Class pray for relief and judgment as follows:
19
20         A.     For an order declaring that this action is properly maintained as a class

21   action and appointing Plaintiffs as representatives for the Class, and appointing

22   Plaintiffs’ counsel as Class counsel;

23         B.     That Defendants bear the costs of any notice sent to the Class;
24         C.     For an order awarding Plaintiffs and the members of the Class actual
25   damages, punitive and exemplary damages, restitution, and/or disgorgement, to the
26   extent allowed under the law;
27         D.     For an order enjoining Defendants from continuing to engage in the
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 1   unlawful and unfair business acts and practices as alleged herein;
 2         E.     For an order awarding Plaintiffs and the members of the Class pre- and
 3   post-judgment interest;
 4         F.     For an order awarding attorneys' fees and costs of suit, including expert
 5   witnesses’ fees as permitted by law; and
 6
           G.     Such other and further relief as this Court may deem just and proper.
 7
                                      JURY TRIAL DEMAND
 8
 9                Plaintiffs and the putative Class demand a trial by jury for all of the
10   claims asserted in this Complaint so triable.
11
12   DATED: October 27, 2021                         Respectfully submitted,
13                                                   FINKELSTEIN & KRINSK LLP
14
                                                     By: /s/ John J. Nelson
15                                                         John J. Nelson
16                                                   Jeffrey R. Krinsk, Esq.
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                                                     and the Putative Class
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                 EXHIBIT A
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